                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                              MILWAUKEE DIVISION

 NOEL M. CAIN,
                                                    Case No. 2:19-cv-01345-PP
       Plaintiff,
 v.                                                 Honorable Judge Pamela Pepper

 KOHL’S DEPARTMENT STORES, INC.,

      Defendant.


              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, NOEL M.

CAIN, and the Defendant, KOHL’S DEPARTMENT STORES, INC. , through their respective

counsel that the above-captioned action is dismissed, with prejudice, against KOHL’S

DEPARTMENT STORES, INC. , pursuant to settlement and Federal Rule of Civil Procedure 41.

Each party shall bear its own costs and attorney fees.

Dated: February 18, 2020                                 Respectfully Submitted,

NOEL M. CAIN                                             KOHL’S DEPARTMENT STORES,
                                                         INC.
/s/ Nathan C. Volheim                                    /s/ Michael F. Tuchalski (with consent)
Nathan C. Volheim                                        Michael F. Tuchalski
Counsel for Plaintiff                                    Counsel for Defendant
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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.



                                                              s/ Nathan C. Volheim_____
                                                              Nathan C. Volheim




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